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                                Exhibit A
                            LAZAR CERTIFICATION
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                              Chapter 11
CELSIUS NETWORK LLC, et al.1                                       Case No. 22-10964 (MG)
                                   Debtors.
                                                                   (Jointly Administered)


     CERTIFICATION OF VINCENT E. LAZAR IN SUPPORT OF FINAL FEE
APPLICATION OF SHOBA PILLAY, EXAMINER AND JENNER & BLOCK LLP FOR
      COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
 REIMBURSEMENT OF EXPENSES INCURRED AS ATTORNEYS FOR EXAMINER
    FOR THE PERIOD OF SEPTEMBER 29, 2022 THROUGH MARCH 31, 2023

        I, Vincent E. Lazar, have the responsibility for ensuring that the Final Fee Application of

Shoba Pillay, Examiner and Jenner & Block LLP for Allowance of Compensation for Services

Rendered and Reimbursement of Expenses Incurred as Attorneys to the Examiner for the Period

of November 1, 2022 through March 31, 2022 (the “Application”), filed contemporaneously

herewith, complies with the Amended Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Bankruptcy Cases, dated July 17, 2013 (the “Local Guidelines”),

and I hereby certify the following:

        1.       I am a partner in Jenner & Block LLP (“Jenner & Block”), a law firm with offices

in Chicago, Illinois; Los Angeles, California; New York, New York; San Francisco, California;

Washington, D.C.; and London, United Kingdom.2 I am currently resident in Jenner & Block’s


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Ltd. (N/A); and GK8 USA LLC (9450). The location of
Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases
is 121 River Street, PH05, Hoboken, New Jersey 07030.
2
 The London office is operated by a separate partnership, Jenner & Block London LLP, which is affiliated with Jenner
& Block.
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Chicago office, located at 353 North Clark Street, Chicago, IL 60654. I am a member in good

standing of the bars of the States of New York and Illinois, and there are no disciplinary

proceedings pending against me.

         2.    I submit this certification (“Lazar Certification”) in support of the Application.

Except as otherwise noted, I have personal knowledge of the matters set forth herein.

         3.    I have read the Application. The statements contained in the Application are true

and correct according to the best of my knowledge, information, and belief.

         4.    To the best of my knowledge, information, and belief, formed after reasonable

inquiry, the fees and disbursements sought in the Application are permissible under the Bankruptcy

Code, 11 U.S.C. §§ 101-532; the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”); the Bankruptcy Rules for the United States Bankruptcy Court for the Southern District

of New York (the “Local Rules”); the United States Trustee’s Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Large Chapter 11 Cases Effective as of November 1, 2013; and the Local Guidelines.

         5.    The fees and disbursements sought in the Application are billed at rates Jenner &

Block customarily employs and Jenner & Block’s clients generally accept in matters of this nature.

         6.    None of the professionals seeking compensation varied their hourly rate based on

their geographic location.

         7.    Jenner & Block is not seeking compensation for the Final Fee Period specifically

for time spent reviewing or revising time records or preparing, reviewing, or revising invoices.

         8.    Jenner & Block does not make a profit on costs or expenses for which it seeks

reimbursement, whether the service is performed by Jenner & Block in-house or through a third

party.




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       9.     In accordance with Rule 2016(a) of the Bankruptcy Rules and 11 U.S.C. § 504, no

agreement or understanding exists between Jenner & Block and any other person for the sharing

of compensation to be received in connection with the chapter 11 cases except as authorized by

the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

       10.    All services for which compensation is sought were professional services rendered

to the Examiner and not on behalf of any other person.

       I certify under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief formed after reasonable inquiry.

Executed on July 24, 2023                  /s/ Vincent E. Lazar
                                            Vincent E. Lazar




                                                3
